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                             Exhibit 13
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    Teva exec's remark creates furore in
    Indian pharma
    Joe C Mathew | New Delhi
    Last Updated at January 20, 2013 00:57 IST




                                                      Domestic drugmakers — used to frequent India bashing by
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                                                      research-driven global pharmaceutical majors for alleged
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        out?                                          infringement of patent rights or quality issues — were in for a
                                                      shock last week when the world’s largest generic company, Israel’s
        Domestic, foreign pharma
                                                      Teva, made allegations against the industry practices in India and
        companies lock horns over
        patents                                       China.

        Drug-trial data issue invites                 Teva Europe’s President and CEO, Gerald Van Odijk, said the
        pharma re                                     analyses of prices of Indian and Chinese drug companies showed
        Not the right medicine                        they were cutting corners and wanted European drug regulator’s to

        Pharma club seeks                             conduct dawn raids on facilities in these countries.
        protection from foreign
        predators                                     London-based pharma journal Scrip on June 10 reported that Odijk
                                                      made these observations while participating in the annual meeting
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                                                      of the European Association of Pharmaceutical Full-line
                                                      Wholesalers (GIRP) in Cannes.

                                                      Scrip reported that Odijk, citing recalls, asserted generic pricing
                                                      had taken its toll on quality and stated Teva did not have presence
                                                      in India or China as “you would never sit on a plane if you thought
                                                      that the parts were coming from a dodgy factory somewhere that
                                                      you didn’t know. So, why do we accept this for medicines?”
                                                      Contradicting his company was not present in India, industry
                                                      o cials said it did outsource lot of material from the country.

    “Teva has a signi cant presence in India. It acquired Regent Drugs in 2003 from the JK Group. Substantial
    investment has gone into the active pharmaceutical ingredient (API) or raw material facility, including the
    setting up of an research and development facility that was inaugurated in December 2005,” D G Shah,
    secretary general of the domestic drug industry lobby group Indian Pharmaceutical Alliance (IPA), said.

    In 2008, Teva had acquired over 100 acres of land near Gwalior to build an API manufacturing facility.
    Teva had said that it considered India an interesting geographical region and was looking to broaden its
    activities in the country.




                                                                                                              SKIP AD



    Industry o cials said Teva was sourcing raw materials from several leading Indian companies, including
    Cipla, Dr Reddy’s and Glenmark and nished formulations from companies such as Emcure, Micro Labs
    and IPCA.

    The alleged quality and pricing concerns expressed by Teva has not deterred any of the foreign
    multinational companies from sourcing raw materials and ready-to-use medicines from India.



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    Almost all foreign drugmakers, including GSK, P zer and Daiichi, have alliances and investments in India
    to source medicines for their global supplies.


    First Published: Tue, June 22 2010. 00:57 IST

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